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                       No. 20-15029
    _________________________________________________

        IN THE UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT
    _________________________________________________

   CALIFORNIA DEPARTMENT OF TOXIC SUBSTANCES
CONTROL and the TOXIC SUBSTANCES CONTROL ACCOUNT,
                   Plaintiffs-Appellees
                             v.
     JIM DOBBAS, INC., a California corporation, et al.,
                       Defendants,
                                    v.
          CENTURY INDEMNITY COMPANY, et al.,
                    Movants-Appellants.
    _________________________________________________
          on Appeal from the United States District Court
               for the Eastern District of California

               No. 2:14-cv-00595-WBS-EFB
                 (Hon. William B. Shubb)
   _________________________________________________

      PLAINTIFFS’-APPELLEES’ SUPPLEMENTAL
       EXCERPTS OF RECORD – VOLUME 2 OF 2
   _________________________________________________

 ROB BONTA                               GRAY-DUFFY, LLP
 Attorney General of the State of        TIMOTHY M. THORNTON, JR.
 California                              State Bar No. 106413
 DENNIS L. BECK, JR.                      15760 Ventura Blvd, 16th Floor
 Supervising Deputy Attorney              Encino, CA 91436-3027
 General                                  Telephone: (818) 907-4000
 LAURA J. ZUCKERMAN                       Fax: (818) 783-4551
 Deputy Attorney General                  Email:
 State Bar No. 161896                     tthornton@grayduffylaw.com
  1515 Clay Street, 20th Floor
  Oakland, CA 94612-0550                 Attorneys for Plaintiffs-Appellees
  Telephone: (510) 879-1299              California Department of Toxic
  Fax: (510) 622-2270                    Substances Control and the Toxic
 Email:                                  Substances Control Account
 Laura.Zuckerman@doj.ca.gov
                                                                         Case 2:14-cv-00595-WBS-JDP Document 137-2 Filed 07/24/15 Page 1 of 13
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 1   KAMALA D. HARRIS, State Bar No. 146672
     Attorney General of California
 2   SARAH E. MORRISON, State Bar No. 143459
     Supervising Deputy Attorney General
 3   LAURA J. ZUCKERMAN, State Bar No. 161896
     THOMAS G. HELLER, State Bar No. 162561
 4   Deputy Attorneys General
      1515 Clay Street, 20th Floor
 5    Oakland, CA 94612
      Telephone: (510) 622-2174
 6    Fax: (510) 622-2270
      E-mail: Laura.Zuckerman@doj.ca.gov
 7   Attorneys for Plaintiffs California
     Department of Toxic Substances Control and Toxic
 8   Substances Control Account
 9                          IN THE UNITED STATES DISTRICT COURT

10                       FOR THE EASTERN DISTRICT OF CALIFORNIA

11                                   SACRAMENTO DIVISION

12

13
     CALIFORNIA DEPARTMENT OF TOXIC                     2:14-cv-00595-WBS-EFB
14   SUBSTANCES CONTROL and the TOXIC
     SUBSTANCES CONTROL ACCOUNT,                    DECLARATION OF PETER
15                                                  MACNICHOLL IN SUPPORT OF
                                        Plaintiffs, PLAINTIFFS’ OPPOSITION TO
16                                                  MOTION FOR SUMMARY JUDGMENT
                   v.                               BY DEFENDANT WEST COAST WOOD
17                                                  PRESERVING, LLC
     JIM DOBBAS, INC., a California
18   corporation; CONTINENTAL RAIL, INC.,               Date: March 9, 2015
     a Delaware corporation; DAVID VAN                  Time: 2:00 p.m.
19   OVER, individually; PACIFIC WOOD                   Place: Courtroom 5, 14th Floor
     PRESERVING, a dissolved California                        501 I Street
20   corporation; WEST COAST WOOD                              Sacramento, CA 95814
     PRESERVING, LLC., a Nevada limited                 Trial: January 4, 2017
21   liability company; and COLLINS &
     AIKMAN PRODUCTS, LLC, a Delaware                   Action Filed: March 3, 2014
22   limited liability company,
23                                    Defendants.
24
     AND RELATED COUNTERCLAIMS AND
25   CROSS-CLAIMS
26

27

28
                                                    1
         DECL. OF PETER MACNICHOLL IN SUPPORT OF PLFS.’ OPPOSITION TO MOTION FOR SUMMARY
                                                                                      SER290
                   JUDGMENT BY DEF. WEST COAST WOOD PRESERVING, LLC (2:14-cv-00595-WBS-EFB)
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 1           I, Peter MacNicholl, declare:
 2           1.      I am employed by the California Department of Toxic Substances Control
 3   (“DTSC”) as a Hazardous Substances Engineer. Since June 30, 2001, I have been working in
 4   DTSC’s Brownfields and Environmental Restoration Program, formerly referred to as the Site
 5   Mitigation Program. I have personal knowledge of the facts stated herein, and, if called to do so,
 6   could and would testify competently thereto.
 7           2.      My current unit, the National Priorities List Unit, conducts and oversees response
 8   actions at the former Wickes Industries Site, located at the intersection of A Street and Holdener
 9   Road in the unincorporated community of Elmira, Solano County, California (“the Site”). I am
10   DTSC’s Project Manager for the Site.
11           3.      I have been actively involved with the Site since approximately March 2010 and I
12   am familiar with the Site’s history. The Site is a former wood treatment and preserving facility
13   where past operations have contaminated the soil and groundwater with arsenic, chromium, and
14   copper. From the 1980s until 2005, consultants for Collins & Aikman Products Co. (“C&A
15   Products”) or its predecessors took actions to address this contamination. In 2005, C&A Products
16   stopped taking those actions, and since that time, DTSC and its contractors have taken actions to
17   assess the Site and address the contamination. I am familiar with cleanup actions undertaken at
18   the Site since the 1980s.
19           4.      I am knowledgeable about DTSC’s work at the Site. I have visited the Site on
20   many occasions and have participated in, among other things, Site inspections, groundwater
21   sampling oversight, preparation of the Removal Action Workplan (“RAW”) in 2010, and
22   implementation and oversight of the soil excavation activity in 2011 described in the RAW. I
23   have obtained and reviewed historical documents concerning the Site from the files of the
24   California Regional Water Control Board, Central Valley Region (“Regional Board”) and
25   DTSC’s files. As the Project Manager for the Site, I have also managed contracts and the staff of
26   environmental engineering firms who have worked at the Site on behalf of DTSC. In addition, I
27   certified the Administrative Record of documents from DTSC’s files concerning the response
28   actions taken at the Site.
                                                      2
          DECL. OF PETER MACNICHOLL IN SUPPORT OF PLFS.’ OPPOSITION TO MOTION FOR SUMMARY
                                                                                      SER291
                    JUDGMENT BY DEF. WEST COAST WOOD PRESERVING, LLC (2:14-cv-00595-WBS-EFB)
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 1          5.      Attached as Exhibit 1 is a true and correct copy of a Regional Board file
 2   memorandum, dated February 28, 1974, that is included in DTSC’s files for the Site.
 3          6.      Attached as Exhibit 2 is a true and correct copy of a Regional Board
 4   memorandum, dated March 1, 1978, that is included in DTSC’s files for the Site.
 5          7.      Attached as Exhibit 3 is a true and correct copy of a Regional Board staff report
 6   for Pacific Wood Preserving Corporation, Elmira, Solano County, undated, that is included in
 7   DTSC’s files for the Site.
 8          8.     Attached as Exhibit 4 is a true and correct copy of a Regional Board memorandum,
 9   dated January 29, 1979, that is included in DTSC’s files for the Site.
10          9.      Attached as Exhibit 5 is a true and correct copy of a website page for The Pacific
11   Wood Preserving Companies that I accessed and printed on June 14, 2010. At the time, the
12   website for the companies was www.pacificwood.com.
13          10.     Attached as Exhibit 6 is a true and correct copy of another website page for The
14   Pacific Wood Companies that I accessed and printed on June 14, 2010.
15          11.     Attached as Exhibit 7 is a true and correct copy of an Information Report from the
16   Solano County Sheriff’s Department to the Regional Board, dated December 24, 1979, that is
17   included in DTSC’s files for the Site.
18          12.    Attached as Exhibit 8 is a true and correct copy of a Regional Board memorandum,
19   dated December 10, 1980, that is included in DTSC’s files for the Site.
20          13.     Attached as Exhibit 9 is a true and correct copy of an additional Regional Board

21   memorandum, dated December 10, 1980, that is included in DTSC’s files for the Site.

22          14.     Attached as Exhibit 10 is a true and correct copy of a letter from Robert Hedges,

23   Dewante and Stowall, to Steve Debuskey, The Wickes Corporation, dated June 25, 1981, that is

24   included in DTSC’s files for the Site.

25          15.     Attached as Exhibit 11 is a true and correct copy of a letter from Steve Debuskey,

26   Wickes Forest Industries, to Greg Walker, Regional Board, dated September 28, 1981, that is

27   included in DTSC’s files for the Site.

28          16.     Attached as Exhibit 12 is a true and correct copy of a letter from James Tjosvold,
                                                      3
         DECL. OF PETER MACNICHOLL IN SUPPORT OF PLFS.’ OPPOSITION TO MOTION FOR SUMMARY
                                                                                     SER292
                   JUDGMENT BY DEF. WEST COAST WOOD PRESERVING, LLC (2:14-cv-00595-WBS-EFB)
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 1   DTSC, to Donald Vagstad, Wickes Companies, Inc., dated January 17, 1992, that is included in
 2   DTSC’s files for the Site.
 3          17.     Attached as Exhibit 13 is a true and correct copy of a letter from David van Over
 4   to Chief, Northern California – Central Cleanup Branch, DTSC, dated February 14, 2011, that is
 5   included in DTSC’s files for the Site
 6          18.     Attached as Exhibit 14 is a true and correct copy of an Invoice Balance Report for
 7   the Site from DTSC’s Cost Recovery Billing System, dated September 25, 2013. The Invoice
 8   Balance Report is a DTSC accounting record of the amounts and dates of unpaid DTSC costs
 9   concerning the Site.
10          19.     Attached as Exhibit 15 is a true and correct copy of a check that DTSC received
11   from the Collins & Aikman Litigation Trust Distribution Account, dated October 11, 2012, that is
12   included in DTSC’s files for the Site.
13          20.     It was necessary for DTSC to take actions at the Site after C&A Products stopped
14   performing work there in 2005 to prevent an imminent public health hazard. C&A Products shut
15   down the groundwater treatment system entirely in 2005, and the Site’s owners at the time
16   refused to restart it. The groundwater treatment system had kept contamination from spreading to
17   nearby domestic irrigation wells and further contaminating the drinking water aquifer. C&A
18   Products also stopped maintaining the asphalt cap on the Site that prevented people from being
19   exposed to contaminated soils, and that prevented those soils from further contaminating surface
20   water and groundwater.
21          21.     The shutdown of the groundwater treatment system created a threat that
22   contaminated groundwater would spread to nearby irrigation wells and the drinking water aquifer.
23   Residents near the Site could have been exposed to contaminated groundwater when those wells
24   were used for irrigation, or if crop or orchard tree roots contacted shallow contaminated
25   groundwater. The cessation of cap maintenance activities created a threat that the asphalt cap
26   would fail and allow direct human contact with contaminated soil or surface water, or contribute
27   to more groundwater contamination. Given the Site’s proximity to residences and the irrigation
28   wells, DTSC determined that these threats could not be left unabated. DTSC’s actions at the Site
                                                    4
         DECL. OF PETER MACNICHOLL IN SUPPORT OF PLFS.’ OPPOSITION TO MOTION FOR SUMMARY
                                                                                      SER293
                   JUDGMENT BY DEF. WEST COAST WOOD PRESERVING, LLC (2:14-cv-00595-WBS-EFB)
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 1   since November 2005 have been taken to address these threats to public health and the
 2   environment.
 3          22.     DTSC initially tried in 2007 and 2008 to resume operating the Wickes/C&A
 4   Products remedy that DTSC had approved in 1996. But the groundwater treatment system had
 5   already reached a point at which it was evident that it would not clean up the groundwater to
 6   remediation goals. Ultimately, the idled groundwater treatment system would require too many
 7   repairs to make it cost-effective to restart. But until DTSC discovered the system could not be
 8   fixed, DTSC viewed re-starting it as an interim measure to contain the “plume” (i.e. underground
 9   area) of groundwater contamination until alternative cleanup approaches could be evaluated.
10          23.     DTSC’s actions after November 2005 culminated in the 2010 RAW. The 2010
11   RAW focused on three major activities: (a) removal of contaminated soil from the former process
12   area on the Site (source area); (b) removal of the abandoned groundwater extraction and treatment
13   system; and (c) groundwater monitoring for at least ten years. The work in the 2010 RAW was
14   intended to reduce contamination migration and focused only on excavating “hot spots,” which
15   were areas of concrete debris and soil contamination that remained in the source area.
16          24.     Besides the significant gap in time, the work that DTSC’s contractor performed in
17   2011 under the 2010 RAW was very different from the work performed by contractors for The
18   Wickes Corporation or Collins & Aikman Group, Inc. under the 1983 and 1994 Remedial Action
19   Plans (“RAPs”) for the Site, in the following ways:
20          (a)     First, unlike the 1983 and 1994 RAPs, the 2011 work did not construct, install,
21   expand, or continue use of the groundwater extraction and treatment system (“GWETS”). Based
22   on (i) evaluations of the GWETS starting in 2005, which determined that contaminant removal
23   rates were decreasing over time and that it was not addressing contamination from the process
24   area (source area); and (ii) the extensive repairs that would be necessary to make the system
25   operational after C&A Products shut it off, DTSC determined that it was no longer cost-effective
26   to operate the GWETS. Further, although the GWETS had to some extent contained the
27   groundwater contamination emanating from the Site, it did not reduce the contamination coming
28   from the source area. Rather than re-starting or expanding the GWETS, the 2010 RAW called for
                                                      5
         DECL. OF PETER MACNICHOLL IN SUPPORT OF PLFS.’ OPPOSITION TO MOTION FOR SUMMARY
                                                                                     SER294
                   JUDGMENT BY DEF. WEST COAST WOOD PRESERVING, LLC (2:14-cv-00595-WBS-EFB)
                                                                          Case 2:14-cv-00595-WBS-JDP Document 108 Filed 02/20/15 Page 6 of 6
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                              Exhibit 7

                                                                   SER296
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                                                                   SER300
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                              Exhibit 8

                                                                   SER301
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                                                                   SER302
                                Page 036
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                                                                   SER303
                                Page 037
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 1   KAMALA D. HARRIS, State Bar No. 146672
     Attorney General of California
 2   TIMOTHY R. PATTERSON, State Bar No. 72209
 3   Supervising Deputy Attorney General
     THOMAS G. HELLER (Counsel for service)
 4   State Bar No. 162561
     DENNIS L. BECK, JR., State Bar No. 179492
 5   Deputy Attorneys General
      300 South Spring Street, Suite 1702
 6    Los Angeles, CA 90013
 7    Telephone: (213) 897-2628
      Fax: (213) 897-2802
 8    E-mail: Thomas.Heller@doj.ca.gov
     Attorneys for the California Department of Toxic
 9   Substances Control and the Toxic Substances
     Control Account
10

11                           IN THE UNITED STATES DISTRICT COURT
12                        FOR THE EASTERN DISTRICT OF CALIFORNIA
13                                    SACRAMENTO DIVISION
14

15

16   CALIFORNIA DEPARTMENT OF TOXIC                      Case No.
     SUBSTANCES CONTROL and the TOXIC
17   SUBSTANCES CONTROL ACCOUNT,                      COMPLAINT FOR RECOVERY OF
                                                      RESPONSE COSTS; DECLARATORY
18                                        Plaintiffs, RELIEF; INJUNCTIVE RELIEF;
                                                      TREBLE DAMAGES; AND CIVIL
19                 v.                                 PENALTIES
20                                                       (Comprehensive Environmental Response,
     JIM DOBBAS, INC., a California                      Compensation, and Liability Act
21   corporation; CONTINENTAL RAIL, INC.,                (“CERCLA”), 42 U.S.C. § 9607(a) and
22   a Delaware corporation; DAVID VAN                   9613(g)(2), and supplemental state law
     OVER, individually; PACIFIC WOOD                    claims)
23   PRESERVING, a dissolved California
     corporation; and WEST COAST WOOD
24   PRESERVING, LLC, a Nevada limited
     liability company,
25
                                       Defendants.
26

27

28
                                                     1
                                                                                      COMPLAINT
                                                                                  SER304
      Case: 20-15029, 07/09/2021, ID: 12168694, DktEntry: 27-3, Page 30 of 79
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 1          Plaintiffs, the California Department of Toxic Substances Control (“Department”) and the
 2   Toxic Substances Control Account (together “Plaintiffs”), allege as follows:
 3                                             JURISDICTION
 4          1.   This Court has jurisdiction under 28 U.S.C. sections 1331 and 1367, and under
 5   section 113(b) of the Comprehensive Environmental Response, Compensation, and Liability Act
 6   (“CERCLA”), 42 U.S.C. section 9613(b).
 7                                                  VENUE
 8          2.   Venue is proper in this district under 42 U.S.C. section 9613(b) and 28 U.S.C. section
 9   1391(b), because the releases and threatened releases of hazardous substances into the
10   environment that are at issue occurred in this judicial district.
11                                  INTRA-DISTRICT ASSIGNMENT
12          3.   Under Local Rule 120(d), Plaintiffs are filing this action in the Sacramento Division
13   of the Eastern District because it arose in Solano County.
14                                   STATEMENT OF THE ACTION
15          4.   Plaintiffs make a claim against Defendants under section 107(a) of CERCLA, 42
16   U.S.C. section 9607(a), for the recovery of response costs and interest on such response costs that
17   Plaintiffs have incurred in connection with releases and threatened releases of hazardous
18   substances, including arsenic, chromium, and copper, at, beneath, and/or from the approximately
19   7.5 acre property located northwest of the intersection of A Street and Holdener Road in the
20   community of Elmira, Solano County, California. The property has a street address of 147 A
21   Street, Elmira, California 95625, and is identified by Solano County Assessor’s Parcel Number(s)
22   142-010-130, 142-010-140, and 142-042-010. The property, and the areal extent of the hazardous
23   substances contamination that is, or has been, present at or has extended from the property, are
24   referred to herein as “the Site.”
25          5.   Plaintiffs further make a claim for declaratory relief, under 28 U.S.C. section 2201
26   and section 113(g)(2) of CERCLA, 42 U.S.C. section 9613(g)(2), for a declaratory judgment that
27   each of the Defendants is jointly and severally liable to Plaintiffs for future response costs
28
                                                        2
                                                                                              COMPLAINT
                                                                                       SER305
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 1   incurred by the Plaintiffs in responding to releases and threatened releases of hazardous
 2   substances at, beneath, and/or from the Site.
 3           6.   Plaintiffs also seek injunctive relief, treble damages, and civil penalties against
 4   certain Defendants pursuant to a supplemental state law claim under Chapter 6.8 of Division 20
 5   of the California Health and Safety Code, for the Defendants’ failure to comply with an Imminent
 6   or Substantial Endangerment Determination Order and Remedial Action Order that the
 7   Department issued to those Defendants, concerning the releases and threatened releases of
 8   hazardous substances referenced above.
 9                                               PLAINTIFFS
10           7.   The Department is a public agency of the State of California, organized and existing
11   under California Health and Safety Code section 58000 et seq. The Department is responsible
12   under state law for determining whether there has been a release and/or threatened release of a
13   hazardous substance into the environment and for responding to releases and/or threatened
14   releases of a hazardous substance into the environment.
15           8.   The Toxic Substances Control Account is an account within the State of California
16   General Fund. California Health and Safety Code section 25173.6 establishes the account, and
17   the director of the Department administers it. Under California Health and Safety Code section
18   25361(a), the account shall be a party in any action for recovery of response costs or expenditures
19   incurred from the account under Chapter 6.8 of Division 20 of the California Health and Safety
20   Code.
21                                              DEFENDANTS
22           9.   Defendant Jim Dobbas, Inc. (“Dobbas”) is a California corporation, with its principal
23   place of business in Placer County, California. It owned an undivided fifty percent interest in the
24   Site from on or about March 20, 1997 to on or about February 11, 2011, and conducted business
25   operations there during all or part of that time.
26           10. Defendant Continental Rail, Inc. (“CRI”) is a Delaware corporation. Under Delaware
27   Code, title 8, section 510, its charter is presently void, and all powers conferred by Delaware law
28   on the corporation are presently inoperative. It owned an undivided fifty percent interest in the
                                                       3
                                                                                               COMPLAINT
                                                                                         SER306
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 1   Site from on or about March 20, 1997 to on or about February 11, 2011, and conducted business
 2   operations there during all or part of that time.
 3          11. Defendant David van Over (“Van Over”) is a citizen of California residing in Solano
 4   County, California. He currently owns and operates the Site.
 5          12. Defendant Pacific Wood Preserving (“PWP”) is a dissolved California corporation. It
 6   conducted business operations at the Site from about 1972 to on or about September 12, 1979,
 7   and owned it from 1977 to on or about September 12, 1979.
 8          13. Defendant West Coast Wood Preserving, LLC (“West Coast Wood”) is a Nevada
 9   limited liability company, with its principal place of business in Kern County, California. It is a
10   successor to Defendant PWP, as evidenced by the following facts:
11              •       PWP was incorporated in 1972.
12              •       The sole or primary shareholder of PWP was non-party Richard F. Jackson
13                     (deceased March 2012).
14              •       Mr. Jackson elected to wind up and dissolve PWP on or about December 30,
15                     1979.
16              •       Before PWP’s dissolution, Mr. Jackson caused the formation of what is now
17                     West Coast Wood Preserving, LLC, which was originally organized as Pacific
18                     Wood Preserving of Bakersfield Inc. (“PWP-Bakersfield”), in October 1978.
19              •       On information and belief, Mr. Jackson was the sole or primary shareholder of
20                     PWP-Bakersfield until his death in March 2012, just as he was the sole or
21                     primary shareholder of PWP.
22              •       Mr. Jackson was a director of both PWP and PWP-Bakersfield.
23              •       Mr. Jackson was the President of PWP during most of all of its corporate
24                     existence, and was also the President of PWP-Bakersfield from at least
25                     September 1980 until his death.
26              •       In 1979, PWP-Bakersfield (now West Coast Wood) started business operations
27                     on property that PWP owned in Bakersfield, California, and has operated at
28                     that location through the present.
                                                      4
                                                                                             COMPLAINT
                                                                                       SER307
      Case: 20-15029, 07/09/2021, ID: 12168694, DktEntry: 27-3, Page 33 of 79
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 1               •    Since 1979, PWP-Bakersfield (now West Coast Wood) has engaged in
 2                    substantially the same wood preserving business at a facility in Bakersfield,
 3                    California as PWP conducted at the Site in Elmira, California until 1979.
 4               •    PWP conveyed its Bakersfield, California property directly to PWP-Bakersfield
 5                    in September 1981 for unknown consideration.
 6               •    PWP’s transfer of its Bakersfield, California property to PWP-Bakersfield
 7                    occurred almost two years after PWP certified that it had dissolved.
 8               •    PWP-Bakersfield (now West Coast Wood), which incorporated in October
 9                    1978, has stated in company brochures and elsewhere that it has operated since
10                    1972, the year of PWP’s incorporation.
11               •    PWP-Bakersfield (West Coast Wood) has stated on its website that the
12                    proceeds from PWP’s sale of the assets of its facility in Elmira, California were
13                    used to start the PWP-Bakersfield facility in Bakersfield, California.
14               •    On or about November 19, 2013, PWP-Bakersfield filed Articles of Conversion
15                    with the Nevada Secretary of State that provided for the conversion of PWP-
16                    Bakersfield to West Coast Wood.
17               •    The Articles of Conversion attached a plan of conversion stating that all debts,
18                    liabilities, and obligations of PWP-Bakersfield “shall be assumed and continue
19                    as debts, liabilities, and obligations” of West Coast Wood.
20                                   GENERAL ALLEGATIONS
21           14. Defendant PWP conducted wood preserving operations at the Site from
22   approximately 1972 through on or about September 12, 1979.
23           15. From on or about September 12, 1979 through approximately 1982, non-party Collins
24   & Aikman Products, LLC, a cancelled Delaware limited liability company under Delaware Code,
25   title 6, section 18-203 (formerly known as Collins & Aikman Products Co., and the successor by
26   merger to The Wickes Corporation) (“C&A Products”) conducted wood preserving operations at
27   the Site.
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                                                     5
                                                                                             COMPLAINT
                                                                                     SER308
      Case: 20-15029, 07/09/2021, ID: 12168694, DktEntry: 27-3, Page 34 of 79
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 1          16. At various times since 1972, hazardous substances within the definition of section
 2   101(14) of CERCLA, 42 U.S.C. section 9601(14), were released into the environment at and from
 3   the Site within the meaning of section 101(22) of CERCLA, 42 U.S.C. section 9601(22). These
 4   hazardous substances included arsenic, chromium, and copper, which were constituents of wood
 5   preserving chemicals used at the Site.
 6          17. From the 1980’s through 2005, C&A Products took various actions under oversight
 7   of the Department and its predecessor agency to address environmental contamination at, around,
 8   and/or beneath the Site. Those actions included, among other things, soil excavation, installing
 9   an asphalt cap over contaminated soils, constructing a building and a drainage system over
10   another contaminated area of the Site, installing and operating a groundwater extraction and
11   treatment system, and groundwater monitoring.
12          18. On or about October 27, 1995, the Department and C&A Products recorded a
13   Covenant to Restrict Use of Property (“Land Use Covenant”) concerning the Site under
14   California Health and Safety Code sections 25355.5 and 25356.1 that restricted the permissible
15   uses of the Site based on environmental conditions there. A copy of the Land Use Covenant is
16   attached as Exhibit A and incorporated by this reference.
17          19. On or about March 20, 1997, C&A Products sold the Site to Defendants Dobbas and
18   CRI, while continuing to take actions to address environmental contamination at, around, and/or
19   beneath the Site.
20          20. On or about May 17, 2005, C&A Products (then known as Collins & Aikman
21   Products Co.) filed a Chapter 11 petition in the United States Bankruptcy Court for the Eastern
22   District of Michigan, Case No. 05-55932. That bankruptcy case was jointly administered with the
23   bankruptcy cases of numerous other debtors under Case No. 05-55927.
24          21. In July or August 2005, while in Chapter 11 bankruptcy proceedings, C&A Products
25   stopped operating the groundwater extraction and treatment system, and stopped taking other
26   action to address contamination at, around, and/or beneath the Site. The Department was verbally
27   notified that C&A Products had stopped operating the groundwater extraction and treatment
28   system in early November 2005.
                                                     6
                                                                                           COMPLAINT
                                                                                     SER309
      Case: 20-15029, 07/09/2021, ID: 12168694, DktEntry: 27-3, Page 35 of 79
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 1          22. In 2006, the Department requested that Defendants Dobbas and CRI, the then-owners
 2   and operators of the Site, resume such actions to address contamination.
 3          23. In December 2007, Defendant Dobbas agreed to perform certain actions at the Site,
 4   which included limited maintenance of the asphalt cap and repair of a roof drainage system for a
 5   building over an area that was a source of contamination at the Site. However, Defendants
 6   Dobbas and CRI failed and refused to perform most of the actions formerly conducted by C&A
 7   Products to address contamination at, around, and/or beneath the Site.
 8          24. On or about October 16, 2008, CRI filed a Chapter 7 petition in the United States
 9   Bankruptcy Court for the Eastern District of California (Sacramento), Case No. 08-34986 (closed
10   December 7, 2010).
11          25. In July 2010, the Department finalized a Removal Action Workplan for the Site that
12   called for contaminated soil excavation, off-site disposal, backfilling, confirmation sampling,
13   demolition of the groundwater extraction and treatment system, and long-term groundwater
14   monitoring.
15          26. On or about February 11, 2011, Defendants Dobbas and CRI sold the Site to
16   Defendant Van Over for $2.00.
17          27. On March 16, 2011, the Department issued an Imminent or Substantial Endangerment
18   Determination Order and Remedial Action Order (“I/SE Order”) ordering Defendants Dobbas,
19   CRI, and Van Over to conduct the actions described in the Removal Action Workplan, and to
20   take other response actions. A copy of the I/SE Order is attached as Exhibit B and incorporated
21   by this reference.
22          28. Defendants Dobbas, CRI, and Van Over failed to complete the actions described in
23   the Removal Action Workplan, and to take other response actions described in the I/SE Order.
24          29. Based on the above, from November 2005 to the present, the Department has taken
25   “response” actions of the Site, as that term is defined in section 101(25) of CERCLA, 42 U.S.C.
26   section 9601(25), related the release and/or threatened release of hazardous substances at the Site.
27   The response actions included, inter alia, efforts to repair and restart the groundwater extraction
28   and treatment system, completion of a remedial investigation for site soils, preparation of the
                                                    7
                                                                                             COMPLAINT
                                                                                       SER310
      Case: 20-15029, 07/09/2021, ID: 12168694, DktEntry: 27-3, Page 36 of 79
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 1   Removal Action Workplan, implementation of the Removal Action Workplan in October and
 2   November 2011, groundwater monitoring, and other tasks.
 3           30. As a result of taking response actions at the Site, Plaintiffs have incurred response
 4   costs related to the release and/or threatened release of hazardous substances at, around, and/or
 5   beneath the Site.
 6           31. Plaintiffs’ unpaid costs related to the Site from November 2005 through September
 7   2013 total $2,202,176.92, exclusive of interest.
 8           32. Plaintiffs have incurred and expect to continue to incur additional response costs
 9   related to the release and/or threatened release of hazardous substances at, beneath, and/or from
10   the Site.
11                                      FIRST CLAIM FOR RELIEF
12                             (Claim for Recovery of Response Costs Pursuant to
13                             Section 107(a) of CERCLA, 42 U.S.C. § 9607(a))
14                                         (Against All Defendants)
15           33. Plaintiffs incorporate the allegations in each of the preceding paragraphs as though
16   fully set forth herein.
17           34. The Site is a “facility” within the meaning of section 101(9) of CERCLA, 42 U.S.C.
18   section 9601(9).
19           35. Each Defendant is a “person,” within the meaning of section 101(21) of CERCLA, 42
20   U.S.C. section 9601(21).
21           36. The Department is a “State” for purposes of recovery of response costs under section
22   107(a) of CERCLA, 42 U.S.C. section 9607(a). Under this section, the Department may also
23   recover interest on response costs incurred.
24           37. Each of the Defendants is an “owner” and/or “operator” of the Site, or was an
25   “owner” and/or “operator” of the Site “at the time of disposal of a[] hazardous substance” there,
26   as those terms are used in section 107(a) of CERCLA, 42 U.S.C. section 9607(a).
27           38. Plaintiffs have incurred costs in responding to the release or threatened release of
28   hazardous substances at or from the Site in a manner that satisfies the requirements of Section
                                                     8
                                                                                             COMPLAINT
                                                                                       SER311
      Case: 20-15029, 07/09/2021, ID: 12168694, DktEntry: 27-3, Page 37 of 79
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 1   107(a)(4) of CERCLA, 42 U.S.C. section 9607(a)(4), in that the costs arose from activities that
 2   are not, and have not been, inconsistent with the applicable requirements of the National
 3   Contingency Plan, 40 C.F.R. Part 300.
 4           39. Each of the Defendants is jointly and severally liable, without regard to fault, under
 5   section 107(a) of CERCLA, 42 U.S.C. section 9607(a), for Plaintiffs’ costs incurred in response
 6   to the release or threatened release of hazardous substances at or from the Site.
 7                                     SECOND CLAIM FOR RELIEF
 8                             (Declaratory Relief Pursuant to Section 113(g)(2) of
 9                                     CERCLA, 42 U.S.C. § 9613(g)(2))
10                                          (Against All Defendants)
11           40. Plaintiffs incorporate the allegations of each of the preceding paragraphs as though
12   fully set forth herein.
13           41. Under section 113(g)(2) of CERCLA, 42 U.S.C. section 9613(g)(2), Plaintiffs are
14   entitled to a declaratory judgment that each of the Defendants is jointly and severally liable in any
15   subsequent action or actions by the Plaintiffs to recover any further costs incurred in response to
16   the release and/or threatened release of hazardous substances into the environment at or from the
17   Site.
18                                      THIRD CLAIM FOR RELIEF
19           (Failure and Refusal to Comply with Imminent or Substantial Determination Order
20                and Remedial Action Order – California Health and Safety Code sections
21                                 25355.5, 25358.3, 25359, 25359.2, 25367)
22                             (Against Defendants Dobbas, CRI, and Van Over)
23           42. Plaintiffs incorporate the allegations of each of the preceding paragraphs as though
24   fully set forth herein.
25           43. The Department issued the I/SE Order to Defendants Dobbas, CRI, and Van Over
26   under, inter alia, Chapter 6.8 of Division 20 of the California Health and Safety Code, specifically
27   sections 25355.5 and 25358.3.
28
                                                        9
                                                                                             COMPLAINT
                                                                                         SER312
      Case: 20-15029, 07/09/2021, ID: 12168694, DktEntry: 27-3, Page 38 of 79
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 1          44. California Health and Safety Code section 25358.3(f) provides that upon the failure
 2   of any person to comply with any order issued under sections 25355.5 or 25358.3, the director
 3   may request the Attorney General to petition for the issuance of a temporary restraining order or
 4   preliminary or permanent injunction requiring that person to comply with the order.
 5          45. California Health and Safety Code 25359(a) provides that any person liable for a
 6   release or threatened release of hazardous substances who “fails, without sufficient cause…to
 7   properly provide a removal or remedial action upon order of the director…pursuant to Section
 8   25358.3,” is liable for “damages equal to three times the…costs incurred by the state account…as
 9   a result of the failure to take proper action.” The referenced “state account” is Plaintiff Toxic
10   Substances Control Account.
11          46. California Health and Safety Code section 25359.2 provides that any person who
12   does not comply with an order under section 25355.5 or 25358.3 without sufficient cause shall be
13   subject to a civil penalty of not more than twenty-five thousand dollars ($25,000) for each day of
14   noncompliance.
15          47. California Health and Safety Code section 25367(c) provides that any person who
16   refuses, without sufficient cause, any activity authorized under section 25358.1 or 25358.3 is
17   subject to a civil penalty not to exceed twenty-five thousand dollars ($25,000) for each separate
18   violation, or for each day of a continuing violation.
19          48. Defendants Dobbas, CRI, and Van Over have failed and refused, without sufficient
20   cause, to comply with the I/SE Order, including, without limitation, as follows:
21              •      Defendants failed and refused to restore groundwater monitoring at the Site, as
22                     specified in section 5.1 of the I/SE Order.
23              •      Defendants failed and refused to implement the Removal Action Workplan for
24                     the Site, as specified in section 5.2 of the I/SE Order.
25              •      Defendants failed and refused to conduct operation and maintenance activities,
26                     including maintenance of the asphalt cap, as specified in section 5.4 of the I/SE
27                     Order.
28
                                                      10
                                                                                             COMPLAINT
                                                                                        SER313
      Case: 20-15029, 07/09/2021, ID: 12168694, DktEntry: 27-3, Page 39 of 79
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 1                 •     Defendants failed and refused to demonstrate and maintain financial assurance
 2                      for operation and maintenance and monitoring, as specified in section 5.9 of the
 3                      I/SE Order.
 4                 •     Defendant Van Over has used and is using the Site as a residence, in violation
 5                      of section 5.3 of the I/SE Order and the Land Use Covenant.
 6          49. Plaintiffs have incurred costs as a result of the failure of Defendants Dobbas, CRI,
 7   and Van Over to take proper action as directed in the I/SE Order.
 8          50. The director of the Department has requested the Attorney General to petition for
 9   injunctive and other relief concerning the failure and refusal of Defendants Dobbas, CRI, and Van
10   Over to comply with the I/SE Order.
11                                         PRAYER FOR RELIEF
12         Plaintiffs pray for relief as follows:
13         A.      For a judgment that each Defendant is jointly and severally liable without regard to
14   fault to the Department under section 107(a) of CERCLA, 42 U.S.C. section 9607(a), for all
15   response costs incurred by the Plaintiffs as a result of the release and threatened release of
16   hazardous substances from the Site, in an amount to be proven at trial, but at least $2,202,176.92;
17         B.      For interest on the above sums from each Defendant as provided under section 107(a)
18   of CERCLA, 42 U.S.C. section 9607(a);
19         C.      For a declaratory judgment that each Defendant is jointly and severally liable without
20   regard to fault to the Plaintiffs under section 113(g)(2) of CERCLA, 42 U.S.C. section 9613(g)(2),
21   for all future response costs incurred by the Plaintiffs as a result of the release and threatened
22   release of hazardous substances at and/or from the Site;
23         D.      For an injunction ordering Defendants Jim Dobbas, Inc., Continental Rail, Inc., and
24   David van Over to comply with the I/SE Order, including, without limitation, by performing
25   groundwater monitoring and operation and maintenance activities, including asphalt cap
26   maintenance, as required by the I/SE Order, and by obtaining financial assurance as required by
27   that order;
28
                                                       11
                                                                                               COMPLAINT
                                                                                         SER314
      Case: 20-15029, 07/09/2021, ID: 12168694, DktEntry: 27-3, Page 40 of 79
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 1         E.     For an injunction ordering Defendant David van Over to stop using the Site as a
 2   residence, in violation of the I/SE Order and the Land Use Covenant;
 3         F.     For treble damages against Defendants Jim Dobbas, Inc., Continental Rail, Inc., and
 4   David van Over under California Health and Safety Code section 25359, in an amount to be
 5   proven at trial;
 6         G.     For civil penalties against Defendants Jim Dobbas, Inc., Continental Rail, Inc., and
 7   David van Over under California Health and Safety Code sections 25359.2 and/or 25367, in an
 8   amount to be proven at trial;
 9         H.     For enforcement costs against each Defendant, including costs of this suit and
10   attorneys’ fees; and
11         I.     For all other relief the Court deems just and appropriate.
12

13   Dated: March 3, 2014                                  Respectfully submitted,
14                                                         KAMALA D. HARRIS
                                                           Attorney General of California
15                                                         TIMOTHY R. PATTERSON
16                                                         Supervising Deputy Attorney General

17                                                         /s/ Thomas G. Heller

18                                                         THOMAS G. HELLER
                                                           DENNIS L. BECK, JR.
19
                                                           Deputy Attorneys General
20                                                         Attorneys for the California Department of
                                                           Toxic Substances Control and the Toxic
21                                                         Substances Control Account

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                                                                                            COMPLAINT
                                                                                      SER315
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 1   THOMAS F. VANDENBURG (SBN: 163446)
     tvandenburg@wshblaw.com
 2   STRATTON P. CONSTANTINIDES (SBN: 305103)
     sconstantinides@wshblaw.com
 3
     WOOD, SMITH, HENNING & BERMAN LLP
 4   10960 Wilshire Blvd., 18th Floor
     Los Angeles, CA 90024
 5   Telephone:     (310) 481-7600
     Facsimile:     (310) 481-7650
 6   Attorneys for Proposed Intervenors
     Century Indemnity Company, Allianz Underwriters
 7
     Insurance Company, Chicago Insurance Company,
 8   and Fireman’s Fund Insurance Company

 9   SARA M. THORPE (SBN: 146529)
     sthorpe@nicolaidesllp.com
10   RANDALL P. BERDAN (SBN: 199623)
11   rberdan@nicolaidesllp.com
     NICOLAIDES FINK THORPE
12   MICHAELIDES SULLIVAN LLP
     101 Montgomery Street, Suite 2300
13   San Francisco, CA 94104
     Telephone:    (415) 745-3770
14   Facsimile:    (415) 745-3771
15
     Attorneys for Proposed Intervenor
16   The Continental Insurance Company

17                             UNITED STATES DISTRICT COURT

18            EASTERN DISTRICT OF CALIFORNIA – SACRAMENTO DIVISION

19   CALIFORNIA DEPARTMENT OF                   2:14-cv-00595-WBS-EFB
     TOXIC SUBSTANCES CONTROL, et al.,
20                                              JOINT NOTICE OF APPEAL TO THE
                          Plaintiffs,           UNITED STATES COURT OF APPEALS
21                                              FOR THE NINTH CIRCUIT;
     v.                                         REPRESENTATION STATEMENT
22
     JIM DOBBAS, INC., a California
23   corporation; et al.,

24                        Defendants.
                                                Action Filed: March 3, 2014
25   AND RELATED COUNTER CLAIMS
     AND CROSS CLAIMS.
26

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     LEGAL:10468-0108/13507359.1 JOINT NOTICE OF APPEAL; REPRESENTATION STATEMENT   SER316
                                                  1
           Case: 20-15029, 07/09/2021, ID: 12168694, DktEntry: 27-3, Page 42 of 79
          Case 2:14-cv-00595-WBS-JDP Document 241 Filed 01/03/20 Page 2 of 13



 1          PLEASE TAKE NOTICE that Century Indemnity Company, Allianz Underwriters

 2   Insurance Company, Chicago Insurance Company, Fireman’s Fund Insurance Company, and

 3   The Continental Insurance Company, Proposed Intervenors in the above-named case, hereby

 4   appeal to the United States Court of Appeals for the Ninth Circuit from the order entered

 5   December 4, 2019 (ECF No. 237) denying Proposed Intervenors’ respective motions to

 6   intervene and set aside/vacate default (ECF Nos. 205, 217, 222). The order is appealable

 7   pursuant to 28 U.S.C. section 1291.

 8          The Representation Statement begins on the next page of this document. The order

 9   appealed from (ECF No. 237) is attached hereto as Exhibit A. Proposed Intervenors know of no

10   related cases currently in the Ninth Circuit.

11                                                         Respectfully submitted,

12   Dated: January 3, 2020                                WOOD, SMITH, HENNING &
                                                           BERMAN LLP
13

14                                                   By:       /s/ Stratton P. Constantinides
                                                                       Thomas F. Vandenburg
15
                                                                      Stratton P. Constantinides
16                                                         Attorneys for Century Indemnity Company,
                                                           Allianz Underwriters Insurance Company,
17                                                         Chicago Insurance Company, and Fireman’s
                                                           Fund Insurance Company
18

19
     Dated: January 3, 2020                                NICOLAIDES FINK THORPE
20                                                         MICHAELIDES SULLIVAN LLP
21
                                                     By:        /s/ Randall P. Berdan
22                                                                       Sara M. Thorpe
                                                                       Randall P. Berdan
23                                                         Attorneys for The Continental Insurance
                                                           Company
24

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     LEGAL:10468-0108/13507359.1 JOINT NOTICE OF APPEAL; REPRESENTATION STATEMENT              SER317
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 1                               REPRESENTATION STATEMENT
                              (FED. R. APP. P. 12(B); Circuit Rule 3-2(B))
 2

 3          PLEASE TAKE FURTHER NOTICE THAT, in this appeal, the undersigned

 4   represent Century Indemnity Company, Allianz Underwriters Insurance Company, Chicago

 5   Insurance Company, and Fireman’s Fund Insurance Company, Proposed Intervenors and

 6   appellants in this matter, and no other party:

 7   THOMAS F. VANDENBURG (SBN: 163446)
     tvandenburg@wshblaw.com
 8   STRATTON P. CONSTANTINIDES (SBN: 305103)
     sconstantinides@wshblaw.com
 9
     WOOD, SMITH, HENNING & BERMAN LLP
10   10960 Wilshire Blvd., 18th Floor
     Los Angeles, CA 90024
11   Telephone:     (310) 481-7600
     Facsimile:     (310) 481-7650
12

13   The undersigned represent The Continental Insurance Company, Proposed Intervenor and

14   appellant in this matter, and no other party:

15   SARA M. THORPE (SBN: 146529)
     sthorpe@nicolaidesllp.com
16   RANDALL P. BERDAN (SBN: 199623)
     rberdan@nicolaidesllp.com
17   NICOLAIDES FINK THORPE
     MICHAELIDES SULLIVAN LLP
18
     101 Montgomery Street, Suite 2300
19   San Francisco, CA 94104
     Telephone:    (415) 745-3770
20   Facsimile:    (415) 745-3771
21

22   California Department of Toxic Substances Control and Toxic Substances Control Account,

23   Plaintiffs and appellees in this matter are represented by:

24   Olivia W. Karlin
     Laura J. Zukerman
25   laura.zuckerman@doj.ca.gov
     1515 Clay Street, 20th Floor
26
     Oakland, CA 94612
27   Telephone:    (510) 879-1299
     Facsimile:    (510) 622-2270
28

     LEGAL:10468-0108/13507359.1 JOINT NOTICE OF APPEAL; REPRESENTATION STATEMENT     SER318
                                                       1
          Case: 20-15029, 07/09/2021, ID: 12168694, DktEntry: 27-3, Page 44 of 79
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 1   Dated: January 3, 2020                          WOOD, SMITH, HENNING &
                                                     BERMAN LLP
 2

 3                                             By:         /s/ Stratton P. Constantinides
                                                                  Thomas F. Vandenburg
 4
                                                                Stratton P. Constantinides
 5                                                   Attorneys for Century Indemnity Company,
                                                     Allianz Underwriters Insurance Company,
 6                                                   Chicago Insurance Company, and Fireman’s
                                                     Fund Insurance Company
 7

 8
     Dated: January 3, 2020                          NICOLAIDES FINK THORPE
 9                                                   MICHAELIDES SULLIVAN LLP
10
                                               By:        /s/ Randall P. Berdan
11                                                                 Sara M. Thorpe
                                                                 Randall P. Berdan
12                                                   Attorneys for The Continental Insurance
                                                     Company
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     LEGAL:10468-0108/13507359.1 JOINT NOTICE OF APPEAL; REPRESENTATION STATEMENT        SER319
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                                                                   SER320
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     Case
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                                                         12/04/19 Page
                                                                   Page61ofof13
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 8                            UNITED STATES DISTRICT COURT
 9                          EASTERN DISTRICT OF CALIFORNIA
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12    CALIFORNIA DEPARTMENT OF TOXIC               No. 2:14-CV-00595 WBS EFB
      SUBSTANCES CONTROL and the TOXIC
13    SUBSTANCES CONTROL ACCOUNT,

14                    Plaintiffs,                  ORDER RE: MOTIONS TO
                                                   INTERVENE AND TO VACATE
15          v.                                     DEFAULT
16    JIM DOBBAS, INC. a California
      corporation; CONTINENTAL RAIL,
17    INC., a Delaware corporation;
      DAVID VAN OVER, individually;
18    PACIFIC WOOD PRESERVING, a
      dissolved California
19    corporation; WEST COAST WOOD
      PRESERVING, LLC., a Nevada
20    limited liability company; and
      COLLINS & AIKMAN PRODUCTS, LLC,
21    a Delaware limited liability
      company,
22
                      Defendants.
23

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25
                   Plaintiffs Department of Toxic Substances Control and
26
      the Toxic Substances Control Account (collectively “DTSC”) sought
27
      recovery of costs and interest incurred during the cleanup of a
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 1    wood preserving operation in Elmira, California against multiple
 2    defendants under the Comprehensive Environmental Response,
 3    Compensation, and Liability Act (“CERCLA”), 42 U.S.C. § 9601 et
 4    seq.       (First Am. Compl. (“FAC”) at ¶ 19.)         In 2015, DTSC obtained
 5    entry of default against a canceled Delaware corporation,
 6    defendant Collins & Aikman Products, LLC (“C&A Products”) after
 7    it failed to respond to DTSC’s First Amended Complaint.                 (Docket
 8    No. 129.)      Presently before the court are motions to intervene
 9    and vacate C&A Products’ default filed by The Continental
10    Insurance Company (“Continental”), Century Indemnity Company
11    (“Century”), and Allianz Underwriters Insurance Company, Chicago
12    Insurance Company, and Fireman’s Fund Insurance Company
13    (collectively, “Allianz”), insurers of C&A Products.                 (Docket
14    Nos. 205, 217, 222.)
15                   This is not the first time an insurance company has
16    moved to intervene and set aside default in this matter.                    The
17    Travelers Insurance Company (“Travelers”) previously attempted to
18    do so (Docket No. 196), but this court denied the motion after
19    finding that Travelers’ refusal to defend C&A Products under a
20    reservation of rights forfeited its interest in the litigation
21    and it could not establish good cause to set aside C&A Products’
22    default.1      (Order Re: Mot. to Intervene and Set Aside Default at
23    3-4 (Docket No. 221).)        The moving parties before the court now
24    offer many of the same arguments Travelers did in its motion,
25
             1  Allstate Insurance Company filed a notice of joinder
26
      (Docket No. 218) to Travelers’ motion to intervene and did not
27    file a separate motion to intervene. (Docket No. 196.)
      Traveler’s motion to intervene was denied on October 22, 2019.
28    (Docket No. 221.) Accordingly, Allstate’s joinder fails.
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 1    with some important differences.             (Compare Docket Nos. 205, 217,
 2    222, with Docket No. 196.)         Each will be discussed in turn.
 3                 First, the court will consider Continental’s motion.
 4    Continental’s position is distinguishable from that of Travelers
 5    in that it did not become aware of this lawsuit until after C&A
 6    Products’ default was entered.           However, it is substantially
 7    indistinguishable in that Continental has neither admitted
 8    coverage nor agreed to defend C&A Products on a reservation of
 9    rights.    DTSC offered to stipulate to Continental’s intervention
10    if it either (1) accepted coverage without a reservation of
11    rights or (2) defended C&A Products with a reservation of rights.
12    (Decl. of Laura Zuckerman (“Zuckerman Decl.”), Ex. B (Docket No.
13    228).)    This was the same stipulation DTSC offered to Travelers
14    before its motion was heard.          Just as in Travelers’ case,
15    Continental did not stipulate, although instead of affirmatively
16    refusing the stipulation, it failed to respond to plaintiffs’
17    offer.    (Zuckerman Decl. ¶ 4.)         Continental also does not advance
18    any new argument to establish good cause to set aside C&A
19    Products’ default.       (Compare Docket No. 205, with Docket No.
20    196.)    Accordingly, Continental’s motion will be denied.
21                 Next, the court considers Century’s motion.              Century,
22    too, offers the same arguments Travelers did in its motion to
23    intervene and set aside default.             (Compare Docket No. 217, with
24    Docket No. 196.)       Indeed, just like Travelers, Century disclaimed
25    coverage of any claims arising from the DTSC litigation, citing a
26    settlement agreement Century purportedly signed with C&A Products
27    in 2000.     (Century Mot. to Intervene at 6 (Docket No. 217).)
28    Like Continental, Century failed to respond to plaintiffs’
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 1    proposed stipulation, and by implication refuses to offer a
 2    defense under a reservation of rights.             (Zuckerman Decl. ¶ 4.)
 3    Because it has both disclaimed coverage and refused to defend C&A
 4    Products under a reservation of rights, Century’s motion to
 5    intervene and set aside default will also be denied.                 Finally,
 6    the court will consider Allianz’s motion.              In California, “where
 7    the insured is unable to assert its rights, an insurer who seeks
 8    to intervene and protect its coverage defenses may provide an
 9    explicit reservation of rights to its client and allege that
10    reservation of rights within its pleading to put the plaintiff on
11    notice that the insurance company is reserving those rights and
12    asserting coverage defenses.”          Kaufman & Broad Communities, Inc.
13    v. Performance Plastering, Inc., 136 Cal. App. 4th 212, 222 (3d
14    Dist. 2006).      Allianz expressly stated in its motion that it has
15    “reserved all rights to decline coverage on any applicable ground
16    and expressly ha[s] not waived or otherwise forfeited any direct
17    interest in the instant action that would serve to defeat Allianz
18    Intervenors’ claim for intervention of right.”               (Allianz Mot. to
19    Intervene at 11 (Docket No. 222).)            Furthermore, unlike Century
20    and Travelers, Allianz has not disclaimed coverage.                Instead, it
21    is purportedly “gathering information regarding coverage and or
22    duties” in the present action.2          (Id.)
23                 However, Allianz was C&A Products’ excess insurer.
24    (Opp. to Mot. to Intervene and Vacate Default at 2 n.2 (Docket
25    No. 227); see also Allianz Reply to Opp. to Mot. to Intervene at
26          2   Like Continental and Century, Allianz failed to respond
27    to DTSC’s proposed stipulation to allow them to intervene.
      (Zuckerman Decl. ¶ 4.)
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 1    2 (Docket No. 230).)         California law recognizes a distinction
 2    between primary and excess insurance coverage.                “Primary coverage
 3    is insurance coverage whereby, under the terms of the policy,
 4    liability attaches immediately upon the happening of the
 5    occurrence that gives rise to the liability . . . “excess” or
 6    “secondary” insurance is coverage whereby, under the terms of
 7    that policy, liability attaches only after a predetermined amount
 8    of primary coverage has been exhausted.”               Residence Mut. Ins. Co.
 9    v. Travelers Indem. Co. of Conn., 26 F. Supp. 3d 965, 972-73
10    (C.D. Cal. 2014) (quoting Am. Cas. Co. v. Gen. Star Indem. Co.,
11    125 Cal. App. 4th 1510, 1521 (2d Dist. 2005) (emphasis omitted)).
12                 Normally, the policy limits of the underlying primary
13    policy must be exhausted before excess insurers have the “right
14    or duty to participate in the defense” of the insured.                   Ticor
15    Title Ins. Co. v. Employers Ins. of Wausau, 40 Cal. App. 4th
16    1699, 1707 (1st Dist. 1995) (citing Signal Companies, Inc. v.
17    Harbor Ins. Co., 27 Cal. 3d 359, 365 (1980)).                In some instances,
18    excess insurers may assume the obligations of the primary insurer
19    before exhaustion occurs.          Id. at 1708-09 (finding excess insurer
20    could defend when the primary insurer was insolvent or refused to
21    defend).     But in the environmental context, primary coverage
22    cannot be exhausted “until a remediation plan is approved which
23    clearly establishes that the costs of remediation will exceed the
24    primary indemnity limits.”          Cty. of Santa Clara v. USF & G, 868
25    F. Supp. 274, 280 (N.D. Cal. 1994).
26                 While DTSC vaguely seeks to recover cleanup costs from
27    C&A Products’ “historic insurers” (Docket No. 197-4), DTSC has
28    yet to obtain judicial approval for C&A Products’ portion of the
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 1    remediation plan3 and failed to determine “which of C&A Products’
 2    insurers, if any, to proceed against.”              (Opp. to Mot. to
 3    Intervene and Vacate Default at 6 n.5.)              Consequently, because
 4    DTSC has yet to determine which primary insurer, if any, will be
 5    responsible for C&A Products’ damages, the parties and the court
 6    do not know what the “primary indemnity limits” are.                  Absent this
 7    information, the court cannot conclude that primary coverage is
 8    exhausted and that excess insurers can properly intervene.                    See
 9    Cty. of Santa Clara, 868 F. Supp. at 280.               Accordingly, Allianz’s
10    motion to intervene and set aside default will also be denied.
11                 IT IS THEREFORE ORDERED that the motions to intervene
12    and vacate default filed Continental (Docket No. 205), Century
13    (Docket No. 217), and Allianz (Docket No. 222), be, and the same
14    thereby are, DENIED.
15    Dated:     December 3, 2019
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             3  Plaintiffs did not include the amount they sought to
25    recover in their First Amended Complaint, but have since asserted
26    C&A Products owes them $3,219,449.85 in their motion for default
      judgment. (Mot. for Default J. ¶ 5(a) (Docket No. 184).) This
27    court expresses no opinion as to the merit of that determination
      and may hold a “prove-up” hearing in the future.
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                                         PROOF OF SERVICE
 1
            I am employed in the County of Los Angeles, State of California. I am over the age of
 2   eighteen years and not a party to the within action. My business address is 10960 Wilshire
     Boulevard, 18th Floor, Los Angeles, CA 90024-3804.
 3
            On January 3, 2019, I served the following document(s) described as JOINT NOTICE
 4   OF APPEAL TO THE UNITED STATES COURT OF APPEALS FOR THE NINTH
     CIRCUIT; REPRESENTATION STATEMENT on the interested parties in this action as
 5   follows:
 6                                 SEE ATTACHED SERVICE LIST
 7
             BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
 8   document(s) with the Clerk of the Court by using the CM/ECF system. Participants in the case
     who are registered CM/ECF users will be served by the CM/ECF system. Participants in the
 9   case who are not registered CM/ECF users will be served by mail or by other means permitted
     by the court rules.
10
            I declare under penalty of perjury under the laws of the United States of America that the
11   foregoing is true and correct and that I am employed in the office of a member of the bar of this
     Court at whose direction the service was made.
12
            Executed on January 3, 2019, at Los Angeles, California.
13

14

15                                                   /s/ Christina Samayoa
                                                     Christina Samayoa
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                                            SERVICE LIST
 1
             California Dept. of Toxic Substances Control, et al. v. Jim Dobbas, Inc., et al,
 2                    United States District Court, Eastern District of California
                                  Case No. 2:14-cv-0595-WBS-EFB
 3

 4
     XAVIER BECERRA                                        Alexander Eugene Potente
 5   Attorney General of California                        Clyde & Co US LLP
     EDWARD H. OCHOA                                       101 2nd Street, Suite 2400
 6   Supervising Deputy Attorney General                   San Francisco, CA 94105
     OLIVIA W. KARLIN, State Bar No. 150432                Telephone: (415) 365-9800
 7   LAURA J. ZUCKERMAN (Counsel for service)              Fax: (415) 365-9801
     State Bar No. 161896                                  Email: alex.potente@clydeco.us
 8   Deputy Attorneys General                              LEAD ATTORNEY
     1515 Clay Street, 20th Floor                          ATTORNEY TO BE NOTICED
 9   Oakland, CA 94612                                     Attorneys for Proposed Intervenor,
     Telephone: (510) 879-1299                             THE TRAVELERS INDEMNITY
10   Fax: (510) 622-2270                                   COMPANY
     E-mail: Laura.Zuckerman@doj.ca.gov Attorneys
11   for Plaintiffs California Department of Toxic
     Substances Control and the Toxic Substances
12   Control Account
13

14   U.S. MAIL                                             Sara M. Thorpe
                                                           Randall P. Berdan
15   Brian M. Rostocki                                     Nicolaides Fink Thorpe Michaelides
     Reed Smith LLP - Delaware                             Sullivan LLP
16   1201 Market Street - Suite 1500                       101 Montgomery Street, Suite 2300
     Wilmington, DE 19801                                  San Francisco, CA 94104
17   Registered Agent for C&A Products, LLC                Telephone: (415) 745-3772
                                                           Fax: (415) 745-3771
18                                                         Email: ssthorpe@nicolaidesllp.com
                                                           LEAD ATTORNEY
19                                                         ATTORNEY 70 BE NOTICED
                                                           Attorneys for Proposed Intervenor,
20                                                         THE CONTINENTAL INSURANCE
                                                           COMPANY
21

22

23

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